 Case 2:22-cv-07450-MWF-MAR Document 141 Filed 07/26/24 Page 1 of 2 Page ID #:7487




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                         UNITED STATES DISTRICT COURT
 8
 9                     CENTRAL DISTRICT OF CALIFORNIA

10   ALEXANDER TORRES,                          Case No.: 2:22-cv-07450-MWF-MAR
11                      Plaintiff,
12   vs.                            ORDER GRANTING
                                    DEFENDANTS’ EX PARTE
13   LOS ANGELES SHERIFF’S
     DEPARTMENT; COUNTY OF LOS      APPLICATION FOR COURT
14   ANGELES; JIMMIE GATES #111207; ORDER MODIFYING THE
     DAVID CASTILLO #111663; DARREN COURT’S JURY TRIAL ORDER
15   DIVIAK; BAHMAN ATABAKI
     #408371; DEPUTY R. BARTON, #   (DKT 93)
16   410462; RYAN DEYOUNG #410355;
     ALFREDO R. CASTRO, #013440;
17   LARRY LINCOLN; MICHAEL
     O’SHEA; STEVE TILLMANN; RALPH
18   SALAZAR; DEPUTY GILBERT;
     DEPUTY GUERRERO; and
19   UNIDENTIFIED EMPLOYEES of the
     COUNTY OF LOS ANGELES AND
20   THE LOS ANGELES SHERIFF’S
     DEPARTMENT,
21
                        Defendants.
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23
           Before the Court is Defendants’ Ex Parte Application (the “Application”)
24
     for Court Order Modifying the Court’s Trial Order (Dkt 93), filed on July 18,
25
     2024. (Docket No. 137). Plaintiff filed an Opposition on July 19, 2024. The
26   Court then held a Status Conference on July 25, 2024.
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28                                          1
      ORDER GRANTING DEFENDANTS’ EX PARTE APPLICATION FOR COURT ORDER MODIFYING THE
                            COURT’S JURY TRIAL ORDER (DKT 93)
 Case 2:22-cv-07450-MWF-MAR Document 141 Filed 07/26/24 Page 2 of 2 Page ID #:7488




 1         Having considered the Application, Opposition, and for good cause shown,
 2   the Application is GRANTED. The Pretrial and Trial Deadlines are modified as
 3   follows:
 4                DEADLINES                     Current Date          Proposed Date
 5    File Memorandum of Contentions          August 5, 2024         August 26, 2024
      of Fact and Law, Exhibit and
 6    Witness Lists, Status Report
 7    regarding settlement, and all
      Motions in Limine
 8    Lodge Pretrial Conference Order;        August 12, 2024        September 3, 2024
 9    file agreed set of Jury Instructions
      and Verdict forms, statement
10    regarding Disputed Instructions and
11    Verdict Forms, Joint Proposed
      Statement of the Case, Proposed
12    Voir Dire, and Oppositions to
13    Motions in Limine
      Final Pretrial Conference and           August 26, 2024        September 16, 2024
14    Hearing on Motions in Limine            11:00 a.m.             11:00 a.m.
15    Trial Date (est. 10 days)               September 24, 2024     October 1, 2024
                                              8:30 a.m.              8:30 a.m.
16
17         A trial of ten (10) Court days or more requires prescreening of a jury
18   panel. No later than August 12, 2024, counsel must file joint notice of the then
19   current estimate for trial, including the number of hours for testimony (see also ¶
20   II(A)(4) of the Order Re Jury Trial). Failure to timely file the notice may result in
21   continuance of the trial to allow sufficient time for a jury panel to be prescreened.
22         IT IS SO ORDERED.
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     Dated: July 26, 2024             _________________________________________
25                                    MICHAEL W. FITZGERALD
26                                    United States District Judge

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28                                          2
      ORDER GRANTING DEFENDANTS’ EX PARTE APPLICATION FOR COURT ORDER MODIFYING THE
                            COURT’S JURY TRIAL ORDER (DKT 93)
